       Case 2:06-cr-00809-R United
                             Document 38 Filed
                                   States      05/01/07 Court
                                            District     Page 1 of 5 Page ID #:109
                           Central District of California

UNITED STATES OF AMERICA vs.                                                                                      CR-06-809-R
Defendant WILLIAM WINE                                                                                      S.Sec.#-------4793

  Residence:                         N/A                                                         Mailing: SAME


----------------------------------------------------------------------
                         JUDGMENT AND PROBATION/COMMITMENT ORDER
----------------------------------------------------------------------
     In the presence of the attorney for the government, the defendant
appeared in person, on:      MAY 1, 2007
                          Month / Day / Year
COUNSEL:
            However, the court advised defendant of right to counsel and asked if
defendant desired to have counsel appointed by the Court and the defendant thereupon
waived assistance of counsel.
      XX WITH COUNSEL Melissa Dulac, retained
_XX_PLEA:
      XX GUILTY, and the Court being satisfied that there is a factual
basis for the plea.
          NOLO CONTENDERE                NOT GUILTY
FINDING:
     There being a finding of             GUILTY, defendant has been
convicted as charged of the offense(s) of: Wire fraud, aiding and
abetting and causing an act to be done in violation of Title 18 USC
1343,1346,2 as charged in the single-count information.

JUDGMENT AND PROBATION/COMMITMENT ORDER:
           The Court asked whether defendant had anything to say why judgment should not be pronounced. Because no sufficient cause to the contrary was
shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered that: Pursuant to the Sentencing Reform Act
of 1984, it is the judgement of the court that defendant is committed to the custody of the Bureau of Prisons to be imprisoned for a term oft




        Twenty-four (24) months.

   IT IS FURTHER ADJUDGED that defendant shall be placed on supervised
release for a term of three (3) years under the following terms and
conditions: the defendant 1) shall comply with the rules and
regulations of the U.S. Probation Office and General Order 318; 2)
shall during the period of community supervision pay the special
assessment and restitution in accordance with this judgment’s orders
pertaining to such payment; 3) shall as directed by the Probation
Officer apply any monies received from income tax refunds, lottery
winnings, inheritance, judgments and any anticipated or unexpected
financial gains to the outstanding court-ordered financial obligation;
4) shall not be employed in any capacity wherein he has custody,
control or management of his employer’s funds; 5) shall not be employed
in any position that requires licensing and/or certification by any



-- GO TO PAGE TWO --                                                                                                 _____WH_________
                                                                                                                       Deputy Clerk




U.S.A. V. WILLIAM WINE                                                                                                  CR 06-809-R
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======================================================================
                         JUDGMENT AND PROBATION/COMMITMENT ORDER
=====================================================================
local, state or federal agency without prior approval of the Probation
Officer; 6) shall cooperate in the collection of a DNA sample from the
defendant.

     IT IS FURTHER ORDERED that defendant pay a special assessment of
$100.00, which is due immediately.

     IT IS FURTHER ORDERED that the defendant pay restitution in the
amount of $936,356.00 pursuant to 18 USC 3663A, to the victim as set
forth in a separate victim list prepared by the Probation Office which
this Court adopt; the victim list shall be forwarded to the fiscal
section of the clerk’s office, shall remain confidential to protect the
privacy interests of the victim. Restitution shall be paid in monthly
installments as directed by the Probation Office based on the amount
the defendant is able to pay.      Within 30 days of sentencing, the
defendant shall liquidate all his partnership and shareholder claims
in all business organizations in which he holds an interest or
investment, and use the proceeds to pay restitution, and in addition,
defendant shall immediately transfer and assign all of his accounts
receivable to the victim.

     IT IS FURTHER ORDERED that execution of sentence is stayed until
May 29, 2007 at 12 noon, by which date and time the defendant shall
self-surrender to the facility designated for his imprisonment or to
the U.S. Marshal located at the Roybal Federal Building, 255 East
Temple Street, Los Angeles, CA 90012.

     IT IS FURTHER ORDERED that the bond of the defendant shall be
exonerated upon his self-surrender on May 29, 2007 at 12 noon.

In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and Supervised Release
set out on the reverse side of this judgment be imposed. the Court may change the conditions of supervision, reduce or extend the period of supervision,
and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke supervision for a violation
occurring during the supervision period.




Signed by:                District Judge
                                                                           MANUEL L. REAL

It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment
Order to the U.S. Marshal or other qualified officer.

                                                                              Sherri R. Carter, Clerk of Court

Dated/Filed May 1, 2007                                                              By        /S/
             Month / Day / Year                                                        William Horrell, Deputy Clerk




 In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of
 Probation and Supervised Release within this judgment be imposed. The Court may change the conditions of
 supervision, reduce or extend the period of supervision, and at any time during the supervision period or within the
 maximum period permitted by law, may issue a warrant and revoke supervision for a violation occurring during the
 supervision period.
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    The defendant shall comply with the standard conditions that have been adopted by this court (set forth below).

                       STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                        While the defendant is on probation or supervised release pursuant to this judgment:
    1.   The defendant shall not commit another                                10.   the defendant shall not associate with any
         Federal, state or local crime;                                              persons engaged in criminal activity, and shall
    2.   the defendant shall not leave the judicial                                  not associate with any person convicted of a
         district without the written permission of the                              felony unless granted permission to do so by
         court or probation officer;                                                 the probation officer;
    3.   the defendant shall report to the probation                           11.   the defendant shall permit a probation officer to
         officer as directed by the court or probation                               visit him or her at any time at home or
         officer and shall submit a truthful and complete                            elsewhere and shall permit confiscation of any
         written report within the first five days of each                           contraband observed in plain view by the
         month;                                                                      probation officer;
    4.   the defendant shall answer truthfully all                             12.   the defendant shall notify the probation officer
         inquiries by the probation officer and follow                               within 72 hours of being arrested or questioned
         the instructions of the probation officer;                                  by a law enforcement officer;
    5.   the defendant shall support his or her                                13.   the defendant shall not enter into any
         dependents and meet other family                                            agreement to act as an informer or a special
         responsibilities;                                                           agent of a law enforcement agency without the
    6.   the defendant shall work regularly at a lawful                              permission of the court;
         occupation unless excused by the probation                            14.   as directed by the probation officer, the
         officer for schooling, training, or other                                   defendant shall notify third parties of risks that
         acceptable reasons;                                                         may be occasioned by the defendant’s criminal
    7.   the defendant shall notify the probation officer                            record or personal history or characteristics,
         at least 10 days prior to any change in                                     and shall permit the probation officer to make
         residence or employment;                                                    such notifications and to conform the
    8.   the defendant shall refrain from excessive use                              defendant’s compliance with such notification
         of alcohol and shall not purchase, possess, use,                            requirement;
         distribute, or administer any narcotic or other                       15.   the defendant shall, upon release from any
         controlled substance, or any paraphernalia                                  period of custody, report to the probation
         related to such substances, except as prescribed                            officer within 72 hours;
         by a physician;                                                       16.   and, for felony cases only: not possess a
    9.   the defendant shall not frequent places where                               firearm, destructive device, or any other
         controlled substances are illegally sold, used,                             dangerous weapon.
         distributed or administered;


G        The defendant will also comply with the following special conditions pursuant to General Order 01-05 (set forth
         below).
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    STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL
SANCTIONS

         The defendant shall pay interest on a fine or restitution of more than $2,500, unless the court waives interest or
unless the fine or restitution is paid in full before the fifteenth (15th) day after the date of the judgment pursuant to 18 U.S.C.
§3612(f)(1). Payments may be subject to penalties for default and delinquency pursuant to 18 U.S.C. §3612(g). Interest
and penalties pertaining to restitution , however, are not applicable for offenses completed prior to April 24, 1996.

        If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the
defendant shall pay the balance as directed by the United States Attorney’s Office. 18 U.S.C. §3613.

        The defendant shall notify the United States Attorney within thirty (30) days of any change in the defendant’s
mailing address or residence until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C.
§3612(b)(1)(F).

          The defendant shall notify the Court through the Probation Office, and notify the United States Attorney of any
material change in the defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or
restitution, as required by 18 U.S.C. §3664(k). The Court may also accept such notification from the government or the
victim, and may, on its own motion or that of a party or the victim, adjust the manner of payment of a fine or restitution-
pursuant to 18 U.S.C. §3664(k). See also 18 U.S.C. §3572(d)(3) and for probation 18 U.S.C. §3563(a)(7).

         Payments shall be applied in the following order:

                   1. Special assessments pursuant to 18 U.S.C. §3013;
                   2. Restitution, in this sequence:
                             Private victims (individual and corporate),
                             Providers of compensation to private victims,
                             The United States as victim;
                   3. Fine;
                   4. Community restitution, pursuant to 18 U.S.C. §3663(c); and
                   5. Other penalties and costs.




                   SPECIAL CONDITIONS FOR PROBATION AND SUPERVISED RELEASE

         As directed by the Probation Officer, the defendant shall provide to the Probation Officer: (1) a signed release
authorizing credit report inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure
and (3) an accurate financial statement, with supporting documentation as to all assets, income and expenses of the
defendant. In addition, the defendant shall not apply for any loan or open any line of credit without prior approval of the
Probation Officer.

         The defendant shall maintain one personal checking account. All of defendant’s income, “monetary gains,” or
other pecuniary proceeds shall be deposited into this account, which shall be used for payment of all personal expenses.
Records of all other bank accounts, including any business accounts, shall be disclosed to the Probation Officer upon
request.

         The defendant shall not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess
of $500 without approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied
in full.

                    These conditions are in addition to any other conditions imposed by this judgment.




                                                           RETURN

I have executed the within Judgment and Commitment as follows:
          Casedelivered
     Defendant   2:06-cr-00809-R            Document 38 Filed 05/01/07 toPage 5 of 5 Page ID #:113
     on
     Defendant noted on
     appeal on
     Defendant released
     on
     Mandate issued on
     Defendant’s appeal
     determined on
     Defendant delivered                                                               to
     on
at
          the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                          United States Marshal

                                                 B
                                                 y
               Date                                                       Deputy Marshal




                                                            CERTIFICATE

      I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in
      my office, and in my legal custody.

                                                                          Clerk, U.S. District Court

                                                 B
                                                 y
               Filed                                                      Deputy Clerk
               Date




                                           FOR U.S. PROBATION OFFICE USE ONLY


     Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2)
     extend the term of supervision, and/or (3) modify the conditions of supervision.

              These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.


              (Signed)
                         Defendant                                                          Date




                         U. S. Probation Officer/Designated Witness                         Date
